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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------X




                                                  .............................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                           15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X


           Defendant’s Reply in Support of Motion to Compel Non-Party Witness
               to Produce Documents and Respond to Deposition Questions




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       Defendant Ghislaine Maxwell (“Ms. Maxwell”) files this Reply in Support of her Motion

to Compel Non-Party Witness to Produce Documents and Respond to Deposition Questions

(Doc. 655) and further states as follows:

                                       INTRODUCTION

       Ms. Ransome’s Opposition to Defendant’s Combined Motion to Compel (“Opposition”)

(Doc. 700), fell woefully short of actually addressing the categories of documents and deposition

questions sought by the Motion. While Ms. Ransome touts her “robust” production, in fact she

produced 18 pages of documents (three after the Motion to Compel was filed), an incomplete

copy of one of her old passports, and 150 photographs which were given to her by Jean Luc

Brunel. In short, the Opposition seems to suggest because she produced these pages, she should

not have to answer other of the subpoena requests nor answer deposition questions which are

designed to lead to admissible evidence and which, concededly, do not call for privileged

answers. The Opposition, long on screenshots of photos and documents, but short on law or

argument aimed at the Motion to Compel, fails to articulate any actual basis for refusal to

produce or to answer, and Ms. Ransome should be ordered to comply.

                                            ARGUMENT

I.     MS. RANSOME UNJUSTIFIABLY FAILED TO PRODUCE A PRIVILEGE LOG,
       RESULTING IN A WAIVER OF HER PRIVILEGE

       Ms. Ransome concedes she produced no privilege log, despite her assertion of privilege

as to Requests 1, 2, 3 and 5. Menninger Decl. Ex. E at Responses 1-3, 5. In the face of the plain

language in Rule 45(e)(2)(A), as well as the legion of cited cases requiring a privilege log

(Motion at 4-5), Ms. Ransome submits two unpersuasive and inapposite arguments: (1) a log

would be “burdensome”, and (2) witness interviews are subject to work product protection.




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        Regarding “burdensomeness,” Ms. Ransome is represented by at least five attorneys from

three different firms.1 She first spoke to those attorneys sometime in October or November 2016,

so the entire volume of their communications cannot be significant, and she submits no proof to

the Court that it is. She has offered no explanation as to why her five (or six) attorneys are

unable to prepare a privilege log as to their communications with her, or any other documents

withheld as privileged.

        The cases cited by Plaintiff do not support her position. For example, Wells Fargo Bank,

N.A. has nothing to do with privilege logs and, in fact, holds to the contrary: “The permissible

scope of discovery from a non-party is generally the same as that applicable to discovery sought

from parties.” Wells Fargo Bank, N.A. v. Konover, No. 3:05CV1924 CFD/WIG, 2009 WL

585434, at *4 (D. Conn. Mar. 4, 2009). The non-party witness in Med. Components, Inc. v.

Classic Med., Inc., 210 F.R.D. 175, 180 (M.D.N.C. 2002), actually offered to provide a privilege

log. And the non-party witness in Tucker v. Am. Int’l Grp, Inc., 281 F.R.D. 85 (D. Conn. 2012),

fully complied with two previous discovery requests but objected to inspection of its electronic

servers to locate emails whose existence was speculative.

        Ms. Ransome’s second argument, the unremarkable position that witness interviews are

covered by work product protection, does nothing to address the issue in question, i.e., whether

she should have provided a privilege log identifying any such privileged documents. Rule

45(e)(2)(A) requires as to any withheld document “subject to protection as trial-preparation

material,” a non-party witness must “(i) expressly make the claim; and (ii) describe the nature of



        1
           It is “at least” five attorneys because, when asked, Ms. Ransome testified that she is represented by Mr.
Guirguis (who appeared at her deposition but has not entered an appearance in this case), Mr. Boies, Ms. McCawley,
Mr. Pottinger and Mr. Edwards, but she denied being represented by Mr. Cassell, despite the fact that she has a
signed fee agreement with him. Pottinger Decl. (Doc. 701) Ex. 1 at 19-20; Menninger Decl. Ex. C. She testified
also that she is not represented by Meredith Schultz, though Ms. Schultz entered her appearance on Ms. Ransome’s
behalf. Compare Pottinger Decl. Ex. 1 at 23 with Docket, 17-cv-00616.

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the withheld documents…in a manner that, without revealing information itself privileged or

protected, will enable the parties to assess the claim.” Ms. Ransome and her five attorneys

admittedly did not expressly make any such claim nor did they describe the nature of the

withheld documents.

       The witness’s unjustified failure to provide a privilege log as to Responses 1-3 and 5

effected a waiver of any privilege. See Mot. at 4-5; OneBeacon Ins. Co. v. Forman Int'l Ltd., 04

CIV. 2271(RWS), 2006 WL 3771010, at *7–8 (S.D.N.Y. Dec. 15, 2006); In re Application for

Subpoena to Kroll, 224 F.R.D. 326, 328 (E.D.N.Y. 2004); Labatt Ltd. v. Molson Breweries, Nos.

93 CV 75004, 94 CV 71540(RPP), 1995 WL 23603 (S.D.N.Y. Jan. 20, 1995); In re Grand Jury

Subpoena, 274 F.3d 563, 575-76 (1st Cir. 2001).

II.    MS. RANSOME REFUSED TO PRODUCE RELEVANT, RESPONSIVE
       DOCUMENTS WITHOUT BASIS

       A.      Requests 1, 4, 5, 14: Communications with Witnesses Related to this Case

       Requests 1, 4, 5 and 14 requested communications between Ms. Ransome and a number

of different witnesses in this case. In response, Ms. Ransome produced 18 pages emails. She

testified that she conducted the search for responsive emails herself, of her Yahoo account inbox.

Pottinger Dep. Ex. 1 at 378-83, 386. Ms. Ransome did not search any other accounts for

responsive communications, no forensic search was conducted of the account, nor did her

attorneys conduct a search of her computer (including the attorneys representing her in her Jane

Doe complaint).

       According to Ms. Ransome at her deposition, she possesses other responsive

communications. For example, she testified that she wrote to the NY Post reporter, Maureen

Callahan, in an attempt to sell her story to the media, in or about October 2016. Pottinger Ex. 1

at 38 (“I emailed her after I read an article that she had written about Jeffrey Epstein.”); id. at 50


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(“There were, I think, a few emails exchanged, but nothing ever came about it. Q: And, again,

those emails from your Yahoo account? A: Yes.”). She testified that those emails are still on

her computer in her Yahoo account. Id. at 39 (Q: Where is the email that you wrote her? A:

It’s on a—it’s on my computer. Q: Okay. In your Yahoo account? A: Yes.”). They were not

produced. Compare Menninger Decl. Ex. I, Request No. 3 (seeking documents that reference

“Ghislaine Maxwell, Jeffrey Epstein” and others).

         She also possesses emails with witness Pumla Grizell, to whom she allegedly had

complained about Jeffrey Epstein, but only produced selected emails within the same email

chain.

         Because a thorough search of email communications was not performed within the

Yahoo account or any other account used by Ms. Ransome, there is no guarantee that all

responsive documents have been produced. After counsel for Ms. Maxwell raised during

conferral the incomplete production of communications, Ms. Ransome’s lawyers were able to

locate additional responsive documents which have been produced in 3 different batches. The

Court should order a thorough and complete search of Ms. Ransome’s emails and accounts to

ensure that there are no other missing communications and that the identified communications

with Ms. Callahan and Ms. Grizell are produced.

         B.     Request 2: Fee Agreements

         In response to Request 2, Ms. Ransome produced her fee agreement with Messrs.

Edwards, Pottinger and Cassell, purporting to reflect their pro bono representation of her as a

witness in this matter. She has not produced, nor indicated any basis for withholding, her fee

agreement associated with her civil complaint in Jane Doe 43 v. Epstein et al., including any for

Mr. Cassell, Mr. Edwards, Mr. Boies, Ms. McCawley or Ms. Schultz, all of whom have entered

appearances in that matter. See Docket Report, Jane Doe 43 v. Epstein et al., 17-cv-00616-JGK.
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She also did not produce any writing reflecting her engagement of Mr. Guirguis as her counsel.

Ms. Ransome’s interconnected legal representations, her financial motive for testifying, and her

financial arrangements with those counsel all are relevant and discoverable.

          C.       Request 6-7: Photographs

          Ms. Ransome produced some photographs which she claims documents her time on the

island. Some photos, in fact, capture her image on what appears to Little St. James Island.

Indeed, she inserted photographs in her Response and suggested that such photographs of Ms.

Maxwell had been taken by her. See Opp’n at 1-4 (Doc. 700). Any such implication would be

false. As Ms. Ransome testified and as subsequent investigation has revealed, the photographs

of Ms. Maxwell were actually taken by Jean Luc Brunel, placed on a disk, and given to Ms.

Ransome. Pottinger Decl. Ex. 1 at 335-336 (“Jean Luc took these specific photos…I had a disk

that Jean Luc had given me as a present and memento of that holiday.”). Some of the photos

were taken when Ms. Ransome was not even on the island.

          In any event, the photographs produced are incomplete. The “gift” disk of photographs,

jumps sequential numbers thereby having omitted a number of photos, purportedly taken on the

island.



           ~ DSC00243                                1/2/2007 1:38 PM            JPG File     2,081 KB
          ] ~ DSC00244                               1/2/2007 1:39 PM            JPG File     2,209 KB
           ~ DSC00246                                1/2/2007 1:40 PM            JPG File     2,052 KB
           ~ DSC00250                                1/2/2007 1:42 PM            JPG File     1,982 KB
           ~ DSC00251                                1/2/2007 1:43 PM            JPG File     2,322 KB
           ~ DSC00254                                1/2/2007 1:43 PM            JPG File     2,265 KB
           ~ DSC00255                                1/2/2007 1:43 PM            JPG File     2,200 KB
           ~ n<:rnn?c;,:;                            1 /? /?f1()7 1 ·A '.l D~A   IDf: Cilo    1 071 VR




                                                 5
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        ~ DSC00272                                  1/2/2007 1:46 PM                              JPG File   2,152 KB
        ~ DSC00273                                  1/2/2007 1:47 PM                              JPG File   2,100 KB
        ~ DSC00274                                  1/2/2007 1:47 PM                              JPG File   2,370 KB
        ~ DSC00283                                  1/2/2007 1:49 PM                              JPG File   2,370 KB
       ] ~ DSC00284                                 1/2/2007 1:49 PM                              JPG File   2,361 KB
        ~ DSC00285                                  1/2/2007 1:49 PM                              JPG File   2,370 KB
        ~ DSC00286                                  1/2/2007 1:49 PM                              JPG File   2,270 KB
        ~ DSC00293                                  1/2/2007 2:09 PM                              JPG File   2,266 KB
        ~ DSC00296                                  1/2/2007 2:10 PM                              JPG File   2,088 KB
        R   ~~-~~~~-                                .. ,. . ,..................................              . . ............ ,., ....


See, e.g., Menninger Decl. Ex. J (screenshots of contents of disk produced).

       Furthermore, Plaintiff was asked to produce the photos in “native format.” As to print

photographs, she provided some copies of the fronts of photos and some backs of photos, but she

produced the fronts and backs separately so there is no way to discern which front goes with

which back.

       Ms. Ransome should be ordered to produce all responsive photographs in their native

format, or permit inspection of the same.

       D.      Request 9-12: Passports, Visas and Other Travel Documents

       In Response 9, Ms. Ransome promised that her “current passport is attached.” Pottinger

Decl. Ex. 1 at 10. It was not. Ms. Ransome instead produced one of her expired passports,

specifically her British passports. She did not produce her South African passport from 2006-07,

nor did she produce either her current or her prior South African passports. In fact, Ms.

Ransome had her current passport both in NY and she presented it at the time she signed her

declaration in Barcelona.

       Ms. Ransome also produced no documents either reflecting her visas to travel, work or

study in the US (Request 10) or any communication regarding such visas (Request 11).

       These documents are calculated to lead to admissible discovery, not, as the witness baldly

proclaims, intended to “harass” her. Ms. Ransome’s story is premised on the notion that she

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wanted to “further her education” in the U.S., which is why she traveled here in late 2006. She

also has alleged that she was “promised” that Mr. Epstein would help her gain admission to FIT,

and that Ms. Maxwell also made such extraordinary promises. Whether Ms. Ransome had

permission to attend school in the U.S., or to work here, bears directly on whether she reasonably

could have relied on any such alleged promise. Moreover, the dates of Ms. Ransome’s travel to

and from the U.S., to and from South Africa, and to and from other countries relates directly to

whether or not she was in fact present in the U.S. when she claims that she was. The requested

documents should be produced.

       E.      Request 15-16: Financial Records to Support Her Claims

       In her Jane Doe 43 complaint, Ms. Ransome averred that “Defendants Epstein and

Maxwell continued to provide [her] with things of value in exchange for [her] continued

compliance with Epstein’s sexual demands; however, they failed and refused to perform their

promises to help [her] be admitted to F.I.T. or another school, or to provide financial support for

college admission or on-going education.” See Jane Doe 43 v. Epstein et al., 17-cv-00616,

Complaint (Doc. 1) at 16-17. The subpoena thus called for Ms. Ransome to produce documents

reflecting any payments received by her from Mr. Epstein (or his associates) and her financial

records from the years 2006-07 when she claims she was receiving remuneration from Mr.

Epstein.

       In response, Ms. Ransome contends that these records are a “complete invasion of her

privacy” and have “no relevance.” Apart from “relevance” not being the applicable standard, it

is hard to imagine documents reflecting her financial payments from Mr. Epstein being any more

relevant. During her deposition, Ms. Ransome testified that she had a bank account in NY in

2006-07 and her counsel instructed her not to answer the question “with which bank?” Pottinger

Decl. Ex. 1 at 414-15. She testified that in that account she placed her earnings from her
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“modeling contracts.” Id. She also testified that during the operative time frame she was making

money working for an agency in New York who arranged to have her paid $1,500 to “entertain”

or “spend time” with “gentlemen” with whom she sometimes engaged in sexual relations on her

“own accord.” Id.at 86-88. Finally, she claims she had “savings” from her previous modeling

jobs.

         All of Ms. Ransome’s financial circumstances at the time, including whether she received

money from Mr. Epstein, when and how much, all bear signifcant relevance to her claims that

she was given financial incentives by Epstein and Maxwell in exchange for sexual compliance.

The subpoena is narrowly tailored to (a) money directly from Epstein or his associates, or (b)

from the time frame 2006-07. Any privacy concerns can be alleviated based on the protective

order entered in this case.

         F.      Request 18: Driver’s License

         Response to Request No. 18 promised that “Sarah Ransome’s driver’s license will be

produced at her (February 17) deposition in this matter.” Pottinger Dec. Ex. 1 at 17. It was not.

Ms. Ransome now contends that she is “fearful for her life” based on her sharing her story with a

news reporter from the New York Post.2 A driver’s license contains important identifying

information from which background checks and other investigation can occur. It is primarily a

public document. But for the fact that Ms. Ransome lives in Spain, and has dual citizenships

with the UK and South Africa, such document could be obtained by a simple visit to the

Department of Motor Vehicles. Any newfound privacy concerns can be alleviated by a

“confidential” designation on the production.


         2
           Ms. Ransome testified that she was “followed at least once,” but that was after she contacted the New
York Post reporter and blames that reporter for sharing her secret. The supposed “following” occurred prior to Ms.
Ransome’s name being identified publicly or to counsel for Ms. Maxwell, and Ms. Ransome admits she did not
report the alleged following to any law enforcement authorities.

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        G.      Request 19-20: Education Records

        Ms. Ransome was requested to produce her other post-secondary education degrees,

transcripts, and attendance and grade records, as well as her applications to fashion college,

modeling or other technical colleges. Ms. Ransome testified at her deposition, and noted in her

Jane Doe 43 complaint that she filled out an application for acceptance at the Fashion Institute of

Technology (“FIT”) and that, she says, Mr. Epstein and Ms. Maxwell promised to help her gain

admission, but they did not which forms the basis of her claim that her sexual favors to Mr.

Epstein amounted to “trafficking.”

        She failed to produce her FIT application, without justification. She also failed to

produce any other records concerning her other post-secondary training or applications. These

documents relate to the allegations in her Jane Doe complaint (paragraphs 37, 53-55) and also

her financial motivation to testify in this case.

        H.      Request 21-22: Modeling Contracts

        Similarly, Ms. Ransome refused to produce her modeling contracts or earnings, which

directly relate to Paragraph 38 of her Jane Doe complaint. She did not indicate she searched for

any such documents, indeed she refused to answer questions about her modeling earnings, as

discussed infra.

        I.      Request 30: Social Media

        Finally, Ms. Ransome was asked to produce her social media postings. She denied

having any such accounts. Pottinger Dec. Ex. 1 at 61 (“I don’t have any social media

platforms.”). This testimony was false. Menninger Decl. Ex. K. Ms. Ransome has, at least, a

Twitter account as well as an Instagram account. While some posts are public, others are only

shared with her friends. Ms. Ransome should be required to produce any of her postings on any

social media platform.

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III.    MS. RANSOME UNJUSTIFIABLY REFUSED TO ANSWER RELEVANT
        DEPOSTION QUESTIONS, AND SHE MUST BE COMPELLED TO RE-
        APPEAR AND RESPOND

        During her deposition, Ms. Ransome’s counsel (and Plaintiff’s counsel) instructed her not

to answer a number of non-privileged questions. The record of the deposition is replete with

such frivolous objections. For example, at page 7, her attorney instructed her not to give her

“current address,” whether she “has any source of income,” “her family’s location, things of that

nature,” and her partner’s “cellphone number.” None of these questions call for privileged

information. Pottinger Dec. Ex. 1 at 7, 10-12, 15. When asked who was paying for her hotel in

New York, Mr. Guirguis instructed Ms. Ransome not to answer, and then Ms. McCawley

(appearing on behalf of Plaintiff and NOT on behalf of Ms. Ransome), instructed her to answer.

Id. at 31-33. Her attorneys (and Plaintiff’s counsel) took breaks while questions were pending to

consult with Ms. Ransome before she answered. In sum, there were a significant number of

deposition questions posed to Ms. Ransome that she was improperly instructed not to answer and

for which she should be compelled to return to a deposition and answer.

Category 1 - Personal current financial information.
        In opposition, Ms. Ransome asserts, without factual or legal support, that her financial

information is being sought “for the purpose of harassment and intimidation.” Because Ms.

Ransome failed to address the relevance argument asserted by the Motion, this issue should be

deemed admitted. Compare Motion at 10-11; Opp’n at 19.

Category 2 - the cell phone number of her partner.
        In opposition, Ms. Ransome asserts, without factual or legal support, that her partner’s

cellphone number is being sought “for the purpose of harassment and intimidation.” Because

Ms. Ransome failed to address the relevance assertion asserted by the motion, this issue should

be deemed admitted. Compare Motion at 11; Opp’n at 19.

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Category 3 – Allegedly privileged communications with Alan Dershowitz
        In opposition, Ms. Ransome has now backtracked from her deposition testimony and

claims she “believed” that Alan Dershowitz was her attorney, even though she then testified that

a third person, Mr. Epstein, was in the room during her conversations with Mr. Dershowitz.

Because there was an improper assertion of privilege by her attorneys to the questions posed,

Ms. Ransome should be ordered to respond to those deposition questions. See Motion at 11-12;

Opp’n at 19-20.

The Witness’s Abandoned Objections

       Ms. Ransome did not oppose the specific requests that she answer the following

deposition questions, all of which she was instructed not to answer without any claim of

privilege or protection. See Mot. at 12. Ms. Ransome should also be required to answer these

questions:

   1. Her partner’s occupation (motivation for fabrication)
   2. Her parents’ addresses (she claims that they spoke with Ms. Maxwell and Mr. Epstein
      and have knowledge of her “coming forward”)
   3. Where she was staying while in NY (paid for by Plaintiff’s Counsel, motive for
      fabrication and bias)
   4. Whether Alan Dershowitz contacted anyone on her behalf (communications with others
      by counsel not privileged)
   5. Her stepmother’s phone number and email address and physical address (she claims that
      they spoke with Ms. Maxwell and Mr. Epstein)
   6. When she provided her photos to her lawyer (date of communication and production to
      attorney not privileged)

                                        CONCLUSION

       For the reasons articulated in the Motion to Compel and further supported in this Reply,

Defendant requests the entry of an Order:

   1. Compelling production of all documents responsive to the subpoena, including
      communications with counsel because privilege has been waived. These include
      specifically, but are not limited to:



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          a. Her current passport, her South African passports, and all missing pages excluded
             from the passport produced
          b. Her emails with Maureen Callahan, including ones wherein she sent photograph
             of her and her boyfriend referenced in her deposition
          c. Her fee agreements
          d. Her FIT application
          e. The disc of photos provided to her by Jean Luc Brunel – containing the metadata
          f. All photographs either previously produced or withheld, with metadata or, if in
             hard copy, including the front and back of the photo
          g. All emails from                            by, between, or referencing any Defendant
             in Jane Doe 43, or communicating with any person Ms. Ransome knew through
             Jeffrey Epstein, or that related to her claims in this case and the Jane Doe 43
             complaint.
          h. Her financial records from Epstein or from 2006-07
          i. Her modeling contracts, and
          j. Her social media

   2. Requiring Ms. Ransome to re-appear for deposition and respond to all questions as to
      which she was instructed not to answer in her first deposition, excluding the name of her
      current prescribing doctor;

Dated: March 14, 2017


                                               Respectfully submitted,



                                               /s/ Laura A. Menninger
                                               Laura A. Menninger (LM-1374)
                                               Jeffrey S. Pagliuca (pro hac vice)
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                                CERTIFICATE OF SERVICE

I certify that on March 14, 2017, I electronically served this Defendant’s Reply in Support of
Motion to Compel Non-Party Witness to Produce Documents and Respond to Deposition
Questions via ECF on the following:

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